                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    SOUTHERN DIVISION
                                       No. 7:23-cv-01259

IN RE: CAMP LEJEUNE
WATER LITIGATION


---------------I
THIS DOCUMENT RELATES TO:                                            JURY TRIAL DEMANDED

 GREG                               GLOBUS
Plaintiff First      Middle         Last         Suffix




                                           SHORT-FORM COMPLAINT

              The Plaintiff named below, or Plaintiffs representative, files this Short Form Complaint

against Defendant United States of America under the Camp Lejeune Justice Act of 2022

("CLJA"). Pub. L. No. 117-168, § 804, 136 Stat. 1802, 1802-04 (2022). Plaintiff or Plaintiffs

representative incorporates by reference the allegations contained in the Master Complaint on

file in the case styled In Re: Camp Lejeune Water Litigation, Case No. 7:23-cv-897, in the

United States District Court for the Eastern District of North Carolina. Plaintiff or Plaintiffs

representative files this Short-Form Complaint as permitted by Pretrial Order No. 2.

              Plaintiff or Plaintiffs representative alleges as follows:

                                              I. INSTRUCTIONS

  1. On THIS FORM, are you asserting a claim for          This form may only be used to file a complaint for
  injuries to YOU or to SOMEONE ELSE you legally          ONE PERSON'S injuries. If you intend to bring
  represent?                                              claims for multiple individuals' injuries-for example,
  ~ Tome                                                  a claim for yourself and one for a deceased spouse-
  □ Someone else                                          you must file ONE FORM FOR EACH INJURED
                                                          PERSON.




                  Case 7:23-cv-01259-D-BM Document 6 Filed 11/03/23 Page 1 of 5
                                             - 1-
                                   II. PLAINTIFF INFORMATION
If you checked "To me" in Box 1, YOU are the Plaintiff. Complete this section with information about YOU.

If you checked "Someone else" in Box 1, THAT PERSON is the Plaintiff.                 Complete this section with
information about THAT PERSON.

 2. First name:              3. Middle name:               4. Last name:                   5. SufTIX:
 Greg                                                      Globus
 6. Sex:                                                   7. Is the Plaintiff deceased?
 ~ Male                                                    □ Yes
 □ Female                                                  ~No
 □ Other
                                                           Ifyou checked "To me" in Box 1, check "No" here.
 Skip (8) and (9) if you checked "Yes" in Box 7.
 8. Residence city:                                        9. Residence state:
 San Antonio                                               Texas
 Skip (10), (11), and (12) if you checked "No" in Box 7.
 10. Date of Plaintiff's     11. Plaintiff's residence     12. Was the Plaintiff's death caused by an injury
 death:                      state at the time of their    that resulted from their exposure to contaminated
                             death:                        water at Camp Lejeune?
                                                           □ Yes
                                                           □ No



                                  III. EXPOSURE INFORMATION

If you checked "To me" in Box 1, complete this section with information about YOU.

If you checked "Someone else" in Box 1, complete this section with information about THAT PERSON.

 13. Plaintiff's first month of exposure to the water      14. Plaintiff's last month of exposure to the water at
 at Camp Lejeune:                                          Camp Lejeune:
 October 1983                                              December 1983
 15. Estimated total months of exposure:                   16. Plaintiff's status at the time(s) of exposure
 3                                                         (please check all that apply):
                                                           ~ Member of the Armed Services
                                                           D Civilian (includes in utero exposure)
 17. If you checked Civilian in Box 16, check all that     18. Did Plaintiff at any time live or work in any of
 describe the Plaintiff at the time(s) of exposure:        the following areas? Check all that apply.
 □ Civilian Military Dependent                             □ Berkeley Manor
 □ Civilian Employee of Private Company                    □ Hadnot Point
 □ Civil Service Employee                                  □ Hospital Point
 □ In Utero/Not Yet Born                                   □ Knox Trailer Park
 □ Other                                                   □ Mainside Barracks
                                                           □ Midway Park
                                                           □ Paradise Point
                                                           □ Tarawa Terrace
                                                           □ None of the above
                                                           ~Unknown




           Case 7:23-cv-01259-D-BM Document 6 Filed 11/03/23 Page 2 of 5
                                      -2-
                                     IV. INJURY INFORMATION

If you checked "To me" in Box 1, complete this section with information about YOU.

If you checked "Someone else" in Box 1, complete this section with information about THAT PERSON.

19. Identify the illnesses or conditions the Plaintiff suffered as a result of exposure to contaminated water at
Camp Lejeune.

 ln_jury                                                                          Approximate date of onset
 D Adverse birth outcomes (Plaintiff is the PARENT of an individual who died in
 utero or was stillborn or born prematurely)
 D ALS (Lou Gehrig's Disease)
 D Aplastic anemia or myelodysplastic syndrome
 D Bile duct cancer
 D Bladder cancer
 D Brain / central nervous system cancer
 D Breast cancer
 D Cardiac birth defects (Plaintiff was BORN WITH the defects)
 D Cervical cancer
 D Colorectal cancer
 D Esophageal cancer
 D Gallbladder cancer
 D Hepatic steatosis (Fatty Liver Disease)
 D Hypersensitivity skin disorder
 D Infertility
 D Intestinal cancer
 D Kidney cancer
 D Non-cancer kidney disease
 D Leukemia
 D Liver cancer
 D Lung cancer
 D Mutliple myeloma
 D Neurobehavioral effects
 D Non-cardiac birth defects (Plaintiff was BORN WITH the defects)
 D Non-Hodgkin's Lymphoma
 D Ovarian cancer
 D Pancreatic cancer
 !! Parkinson's disease                                                                       2022
 D Prostate cancer
 D Sinus cancer
 D Soft tissue cancer
 D Systemic sclerosis / scleroderma
 D Thyroid cancer




           Case 7:23-cv-01259-D-BM Document 6 Filed 11/03/23 Page 3 of 5
                                      -3-
 The Camp Lejeune Justice Act does not specify a list of covered conditions.

 If the Plaintiff suffers or previously suffered from a condition not listed above, and the Plaintiff alleges that the
 condition was caused by exposure to the water at Camp Lejeune as required under the Act, please check "Other"
 and describe the condition on the following lines.

 Note in particular that the Board of Veterans' Appeals of the U.S. Department of Veterans Affairs (the "VA")
 has approved benefits in connection with Camp Lejeune for conditions beyond those listed above.
 D Other:                                                                                Approximate date of onset




                                  V. REPRESENTATIVE INFORMATION

If you checked "To me" in Box 1, SKIP THIS SECTION and proceed to section VI. ("Exhaustion").

If you checked "Someone else" in Box 1, complete this section with information about YOU.

 20. Representative First      21. Representative            22. Representative Last       23. Representative
 Name:                         Middle Name:                  Name:                         Suffix:


 24. Residence City:                                         25. Residence State:

                                                             □ Outside of the U.S.


 26. Representative Sex:
 □ Male
 □ Female
 □ Other

 27. What is your familial relationship to the Plaintiff?
 □ They are/were my spouse.
 □ They are/were my parent.
 □ They are/were my child.
 □ They are/were my sibling.
 □ Other familial relationship: They are/were my
 □ No familial relationship.

 Derivative claim
 28. Did the Plaintiff's death or injury cause the Plaintiff's spouse, children, or parents mental anguish, loss
 of financial support, loss of consortium, or any other economic or non-economic harm for which you
 intend to seek recovery?
 □ Yes
 □ No




           Case 7:23-cv-01259-D-BM Document 6 Filed 11/03/23 Page 4 of 5
                                      -4-
                                           VI. EXHAUSTION

 29. On what date was the administrative claim for      30. What is the DON Claim Number for the
 this Plaintiff filed with the Department of the Navy   administrative claim?
 (DON)?


  11/11/2022                                            ~ DON has not yet assigned a Claim Number




                                      VII. CLAIM FOR RELIEF

       Plaintiff respectfully requests that pursuant to subsection 804(b) of the CLJA the Court

enter judgment against the Defendant and award damages and all other appropriate relief for the

harm to Plaintiff that was caused by exposure to the water at Camp Lejeune.



                                    VIII. JURY TRIAL DEMAND

       Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure and subsection 804(d) of the CLJA.




Dated: 11/03/2023


                                                        Isl James Z. Foster
                                                        James Z. Foster
                                                        North Carolina Bar No. 60197
                                                        FOSTER LAW LLC
                                                        1201 West Peachtree St, NW, Suite 2300
                                                        Atlanta, GA 30309
                                                        Telephone: (404) 800-0050
                                                        Facsimile: (404) 493-2322
                                                        james@foster-law.com

                                                        Counsel for Plaintiff




          Case 7:23-cv-01259-D-BM Document 6 Filed 11/03/23 Page 5 of 5
                                     -5-
